Case 3:23-cv-00711-KM Document 11-10 Filed 05/31/23 Page 1 of 5

EXHIBIT “J”
May. 11. 2023 G@se| @23-cv-00711-KM Document 11-10 Filed 05/31/23 PlgS@/OF5?. 26/60

COMMONWEALTH OF PENNSYLVANIA, COUNTY OF LUZERNE

Commonwealth of Pennsylvania Docket No: MJ-11104-NT-0000015-2019
Case Filed: 1/4/2019
V. Docket No: MJ-11104-NT-0000023-2019

Case Filed: 1/9/2019
Douglas Bruce (note corrected name)

RENEWED MOTION TO DISMISS

 

DEFENDANT REPLIED TO THE FIRST TICKETS, AS COPIED ABOVE AND BELOW:

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These misfiled tickets was brought by a non-attomey “code official” whose name is not
printed on a summons or citation, It relates to two different citation numbers dated the
same date. BRUCE received four copies of the two citations on the two docket numbers.
They refer to a magistrate Kravitz. BRUCE moves this case be heard by a judge. There
is no evidence the citations or docket numbers have been consolidated.

The summons refers to a “SUMMARY CASE NON-TRAFFIC.” The word “summary”
means abbreviated, and thus not entitled to full due process of law. That is an improper
process for a threatened demolition of private property. BRUCE moves he be accorded
full dué process of law according to the Fifth and Fourteénth Amendments to thé U. ‘S.
Constitution. Article VI, containing the Supremacy Clause, orders that “.:.the judges in
every State shall be bound thereby, any Thing in the Constitution or Laws of any State to
the Contrary notwithstanding.” That means any proceeding in this matter must comply
fully with the federal Constitution. This proceeding is unworthy of a banana republic.

The documents cite as their authority local ordinance 110, section 1. See Exhibit 1, a
copy of 110. Section 101.3 says its “intent” is that “structures and premises...shall be
altered or repaired to provide a minimum level of health and safety...” The words

“altered or repaired” do not mean demolished. Section 116 lets “code official judgment”
determine a crime, a fine, and a penalty of demolition; that is arbitrary and capricious. A
similar flaw is the personal judgment “that it is unreasonable to repair the structure.”
BRUCE has been a real estate investor for 44 year this May; he may use his different
judgment on that nebulous standard. The code does not provide clear objective standards
of civil or criminal liability to an owner; that is unlawful.

The summons “requires” a signed plea of “guilty” or “not guilty.” But section 110 is a
CIVIL, not a CRIMINAL ordinance. Further, any ‘futute “demolition” is threatened by
Pittston and the plaintiff, NOT by BRUCE. BRUCE cannot lawfully bé forced to pay a
May. 11. 2023 Gaseg j23-cv-00711-KM Document 11-10 Filed 05/31/23 PagegoroP, 27/60

$1,000 “fine”, or any amount, for non-action. Does plaintiff demand $1,000, $2,000, or
$4,000 in its four citations? Further, he cannot be “fined” before trial and final appeal.
BRUCE is a former Deputy District Attomey and knows the proper process for what is a
crime, and how to charge a crime. No one can demand a plea before proper arraignment,
advisement, and waiver of constitutional rights. It is hard to believe any government in
2019 America would not know and follow basic legal procedures.

BRUCE is also entitled to know the basis for the charge, and receive all discovery in the
possession of plaintiff—documents; photos; witness name, contact data, and summary of
personal knowledge; and any other information. The building is and has been empty and
secured by boarding. It is not a crime to own an empty building. To demand a fine and
guilty plea without proof of guilt for an undisclosed crime is stupid and unAmerican.

TO MAKE IT CLEAR, DOUGLAS BRUCE OBJECTS TO ANY DEMOLITION
OR DAMAGE TO HIS PRIVATE PROPERTY AT 385 N. MAIN STREET IN
PITTSTON. MY BUILDING IS BOARDED UP TO PREVENT INTERIOR
ACCESS OR TRESPASS TO THE PROPERTY. THIS APPLIES TO ANYONE--
GOVERNMENT EMPLOYEE OR AGENT. THIS MEANS YOU. KEEP OUT!!!

WHEREFORE, Douglas Bruce moves that all citations and docket entries regarding this
nonsense “case” be dismissed with prejudice. Your demolition laws are unconstitutional.

Submitted,

 

Douglas Bruce

Box 26018

Colorado Springs CO 80936
(719) 550-0010
taxcutter@msp,com

CERTIFICATE OF SERVICE

I certify that I mailed a postage-paid copy of this MOTION... on January 17, 2019 to:

Code Official
35 Broad Street
Pittston PA 18640

 

Douglas Bruce
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Defendant incorporates and amends his above reply to apply also to dockets MJ-111-4-
NT-0000133-2019 and MJ-11104-NT-0000134-2019 as follows:

1. The two summons documents still describe defendant as Bruce Douglas. That reverses
and contradicts the two pink tickets and the name of defendant on the summons.

2. The tickets issued are dated 1/24/19, and do not say whether they are in addition to the
similar tickets dated before, or whether the earlier tickets are dismissed. It is unclear if
the Commonwealth has just doubled the premature “fine” by issuing another ticket. Ir is

also unclear whether two tickets means a demanded prepayment of $1,000 or $2,000 or
$3,000, or $4,000.

3. In the middle of both the white paper summons, there is a space for fine, costs/fees,
server fees. restitution, and total due. ALL those spaces are BLANK. That contradicts the
pink tickets, each of which states the fine is $1,000, plus costs of $40.25. The plaintiff

cannot have it both ways; it violates due process of law under the Fourteenth Amendment
of the U. S. Constitution.

4. The Commonwealth is imposing a FINE BEFORE ARRAIGNMENT. That is patently
absurd. It suggests a kangaroo court proceeding, but that would be a slur on kangaroos. To

rig the outcome in advance is the antithesis of a fair proceeding before, during, and after a
trial.

3. The fine is for “demolition,” which a) has not occurred, and b) is being threatened
against defendant’s property BY THE PLAINTIFF (Y)

6. Defendant is the owner of the property and a former prosecutor. All these amateurish
tickets are VOID ON THEIR FACE.

WHEREFORE, Douglas Bruce moves that all citations and docket entries regarding this
honsense “case” be dismissed with prejudice. Your demolition laws are unconstitutional.

Submitted,

 

Douglas Btuce
Box 26018

Colorado Springs CO 80936
(719) 550-0010
taxcutte n.co
May. 11. 2023 Casb{AW23-cv-00711-KM Document 11-10 Filed 05/31/23 Pkg@6/Of5P. 29/60

CERTIFICATE OF SERVICE

I certify that I mailed a postage-paid copy of this RENEWED MOTION... on February
8, 2019 to:

Code Official
35 Broad Street

Pittston PA bong agl ace

Douglas Bruce?
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